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                                   4                                UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7    MOHAMED SUUFI, et al.,                            Case No. 22-mc-80205-SVK
                                   8                 Plaintiffs,
                                                                                          AMENDED SCHEDULING ORDER
                                   9           v.
                                                                                          Re: Dkt. Nos. 1, 3
                                  10    MEDIALAB.AI, INC.,
                                  11                 Defendant.

                                  12         The Court amends its previous Order Setting Briefing Schedule as follows:
Northern District of California
 United States District Court




                                  13             •   Plaintiffs must serve this Order and the motion to compel [Dkt. 1] on third party

                                  14                 Meta Platforms, Inc.’s counsel, with whom Plaintiffs have been meeting and

                                  15                 conferring, immediately by email.

                                  16             •   Third party Meta Platforms, Inc.’s response, if any, to the motion to compel shall

                                  17                 be filed by August 26, 2022. The response shall not exceed ten pages.

                                  18             •   Plaintiffs’ reply, if any, shall be filed by August 31, 2022. The reply shall not

                                  19                 exceed five pages.

                                  20         SO ORDERED.

                                  21   Dated: August 16, 2022

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                                                                                                   SUSAN VAN KEULEN
                                  24                                                               United States Magistrate Judge

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